                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:07-CR-2
 vs.                                                  )
                                                      )
 BRYANDON RYAN STANDRIDGE                             )       JUDGE MATTICE


                                 MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on May 13, 2009, in accordance
 with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for Warrant for Offender
 Under Supervision of U.S. Probation Officer Bobby J. Byars and the Warrant for Arrest issued by
 U.S. District Judge Harry S. Mattice, Jr. Those present for the hearing included:

                (1) AUSA Jay Woods for the USA.
                (2) Defendant Bryandon Ryan Standridge.
                (3) Attorney John McDougal for defendant.
                (4) Courtroom Deputy Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and he qualified for
 the appointment of an attorney to represent him at government expense. Attorney John McDougal
 was appointed to represent the defendant. It was determined the defendant had been provided with
 a copy of the Petition for Warrant for Offender Under Supervision and the Warrant for Arrest and
 had the opportunity of reviewing those documents with Atty. McDougal. It was also determined the
 defendant was capable of being able to read and understand the copy of the aforesaid documents he
 had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Woods moved defendant be detained without bail pending his revocation hearing
 before U.S. District Judge Harry S. Mattice, Jr.

                                              Findings

        (1) Based upon U.S. Probation Officer Byars’ petition and defendant’s waiver of
        preliminary hearing and detention hearing, the undersigned finds there is probable

                                                  1



Case 1:07-cr-00002-HSM-SKL           Document 120         Filed 05/18/09     Page 1 of 2      PageID
                                            #: 60
       cause to believe defendant has committed violations of his conditions of supervised
       release as alleged in the petition.

                                          Conclusions

       It is ORDERED:

       (1) The defendant, BRYANDON RYAN STANDRIDGE, shall be appear in a
       revocation hearing before U.S. District Judge Harry S. Mattice, Jr.

       (2) The motion of AUSA Woods that defendant be DETAINED WITHOUT BAIL
       pending his revocation hearing before Judge Mattice is GRANTED.

       (3) The U.S. Marshal shall transport BRYANDON RYAN STANDRIDGE to a
       revocation hearing before Judge Mattice on Tuesday, May 19, 2009, at 1:00 pm

       ENTER.

       Dated: May 18, 2009                  s/William B. Mitchell Carter
                                            UNITED STATES MAGISTRATE JUDGE




                                               2



Case 1:07-cr-00002-HSM-SKL         Document 120         Filed 05/18/09    Page 2 of 2        PageID
                                          #: 61
